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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )         Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                        DECLARATION OF WANDA DOE

      I, Wanda Doe, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am a Health Officer with the USAID Foreign Service (direct hire).

      3.     I am assigned to a Mission in Africa and I support health system

development of the country where I am based.

      4.     I am in the third trimester of my pregnancy. My supervisor, Mission

leadership, and the Embassy Health Unit has been aware of my pregnancy since the

first trimester. During my first trimester, the State Department approved my medical

evacuation to the United States so that I could establish care with an OB for delivery.

The State Department wanted me to establish this care early since it is increasingly

difficult to do this as your pregnancy progresses, and the US government does not

want foreign service officers delivering in        , where healthcare is insufficient.
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Based on the understanding that I would receive a fully funded medical evacuation

to deliver, including 90 days of per diem for lodging, meals, and incidentals, I chose a

physician close to the USAID office, in                       . I do not have family or

other resources in that area. Shortly after returning to         , I received a funding

cable to medically evacuate at 34 weeks gestation due to flight restrictions for

pregnant women. With this funding cable, I received an approved travel

authorization that included approval for flights for myself and my family, lodging per

diem and meals and incidentals per diem based on the GSA rate for myself and my

two children, reimbursement for taxis to and from the airport and all medical

appointments, and other reimbursable expenses.

      5.     When the administration changed and Secretary Rubio declared that all

USAID employees would have to evacuate their posts within 30 days, I was informed

that my medevac cable and travel authorization were void. I was instructed that I

would need to return to the US on an evacuation authorization, and I would no longer

be eligible for reimbursement for lodging, per diem, taxis, or other expenses necessary

for my delivery. Essentially, I would be forced to fly back to the US mere weeks before

my due date and expected to find and fund temporary housing, childcare for my other

child, transportation, and other accommodations necessary before delivery.

      6.     Secretary of State Rubio mentioned in an internal meeting at the US

Embassy in               that waivers to delay forced evacuation would be available

for pregnant employees. To date, no one is aware of the process for requesting these

waivers, and as the date in which I am no longer able to travel is quickly approaching,



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my situation is becoming urgent. I reached out to the Reasonable Accommodations

offices at both USAID and the Department of State and was told that there was is no

avenue to request reasonable accommodation for my pregnancy at this time. I had

requested an accommodation to medevac as planned and to stay at my post

throughout my already approved period of paid parental leave, which I am warranted

under FMLA. I reached out to State Med and was told that my medevac cannot be

guaranteed, and as soon as evacuation orders are given, my medevac cable will be

void.

         7.    My husband is in a spouse-designated job at the US Embassy that will

be terminated if we are no longer at post. My entire family has health insurance

through my employment. Everything that I need for my new baby is at my

government home at post. My daughter is in a preschool with school fees paid that

are not refundable. We have a dog at post who cannot be shipped back to the States

in less than 30 days due to complicated paperwork requirements. I am now worried

that my family could lose both incomes, health insurance, housing, and childcare at

any moment, and we will be flown back to my delivery location without any support

system mere weeks before I am due to deliver. Meanwhile, all of our belongings, our

pet, and all essential newborn items I need will either still be at post or will be in a

shipment somewhere.

         8.    Under normal circumstances, once a travel authorization is approved, it

cannot be rescinded. Under normal circumstances, if a foreign service officer is forced

to evacuate, they are provided with several months of lodging and meals per diem.



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None of this is being offered to me.

         9.    All of this added stress and anxiety has put myself and my unborn child

at risk. Every day, as my no-fly-date approaches, I am increasingly stressed and

anxious, and no one is able to provide answers about how I can proceed. Everyone

says I need to wait and see what happens to my Agency. I have a due date that does

not allow me to just wait and see what happens. If I cannot medevac on               as

planned, I will be in a life threatening situation. If we are forced to evacuate without

the standard lodging and per diem package, my family faces major financial hardship.

         10.   I do not understand why, after serving my country’s security interests

for years overseas, I am now being treated like a criminal in a critical period of my

life.

         Executed on February 11, 2025.



                                               /s/ Wanda Doe
                                               Wanda Doe




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